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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,              )
                                       )
               Plaintiff,              )       ORDER
                                       )
       vs.                             )
                                       )
Robert Raymond Althaus,                )        Case No. 4:15-cr-122-9
                                       )
               Defendant.              )


       Before the court is a motion filed by defendant on October 7, 2015, to amend the order for

pretrial detention to allow him to reside: in Minot, North Dakota; with relatives in the State of

Washington; or at a residential facility. The Government filed a response in opposition to

defendant’s motion on October 16, 2015.           It avers there has been no material change of

circumstances to warrant defendant’s release at this time. The court agrees.

       A court held a detention hearing for defendant on August 14, 2015. At the close of the

hearing, the court concluded that the Government had demonstrated by clear and convincing

evidence that defendant posed a danger to the community and by a preponderance of the evidence

that defendant posed a substantial risk of flight. In so doing, it took particular note of the nature of

defendant’s alleged offenses, the strength of the Government’s case, and defendant’s criminal

history, propensity for having firearms, and history of non-compliance with court orders.

       In his motion, defendant advises that a number of State matters pending at the time of his

detention hearing have been dismissed. However, the risks identified by the court in its decision to

detain defendant still exist and are not mitigated by the dismissal of defendant’s State matters.

Defendant’s motion (Docket No. 245) is therefore DENIED.

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IT IS SO ORDERED.

Dated this 20th day of October, 2015.

                                            /s/ Charles S. Miller, Jr.
                                            Charles S. Miller, Jr., Magistrate Judge
                                            United States District Court




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